Case 2:21-cv-12684-JMV-JBC Document 1-1 Filed 06/16/21 Page 1 of 35 PageID: 4




                               EXHIBIT A
Case 2:21-cv-12684-JMV-JBC Document 1-1 Filed 06/16/21 Page 2 of 35 PageID: 5




 Yongmoon Kim (NJ Atty. ID #026122011)
 Kim LAW FIRM LLC
 411 Hackensack Avenue, Suite 701
 Hackensack, New Jersey 07601
 Telephone & Fax (201) 273-7117
 ykim@kimlf.com

 Ronald I. LeVine (NJ Atty. ID #278801972)
 ron@ronlevinelaw.com
 Eileen L. Linarducci (NJ Atty. ID #030891983)
 elinarducci@ronlevinelaw.com
 LAW OFFICE OF RONALD I. LEVINE, ESQ.
 210 River Street, Suite 11
 Hackensack, New Jersey 07601
 Tel. (201) 489-7900
 Fax (201) 489-1395

 Attorneys for Plaintiff Edward Scibilia


                                                         SUPERIOR COURT OF NEW JERSEY
 EDWARD SCIBILIA, on behalf of himself and                LAW DIVISION: ESSEX COUNTY
 those similarly situated,
                                                                      Civil Action
                       Plaintiff,
                                                              Docket No. ESX-L-3614-21
                vs.
                                                                      SUMMONS
 MRS BPO, L.L.C.; and JOHN DOES 1 to 10,

                       Defendants.


 From The State of New Jersey To The Defendant(s) Named Above:

         The plaintiff, named above, have filed a lawsuit against you in the Superior Court of New
 Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
 this complaint, you or your attorney must file a written answer or motion and proof of service
 with the deputy clerk of the Superior Court in the county listed above within 35 days from the
 date you received this summons, not counting the date you received it. (A directory of the
 addresses of each deputy clerk of the Superior Court is available in the Civil Division
 Management Office in the county listed above and online at
 http://www.judiciary.state.nj.us/prose/ 0153_deptyclerklawrcfpdf.) If the complaint is one in
 foreclosure, then you must file your written answer or motion and proof of service with the Clerk
                                            Page lof 2
Case 2:21-cv-12684-JMV-JBC Document 1-1 Filed 06/16/21 Page 3 of 35 PageID: 6




 of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing
 fee payable to the Treasurer, State of New Jersey and a completed Case Information Statement
 (available from the deputy clerk of the Superior Court) must accompany your answer or motion
 when it is filed. You must also send a copy of your answer or motion to plaintiffs' attorneys
 whose names and addresses appear above, or to plaintiffs, if no attorney is named above. A
 telephone call will not protect your rights; you must file and serve a written answer or motion
 (with fee of $175.00 and completed Case Information Statement) if you want the court to hear
 your defense.

         If you do not file and serve a written answer or motion within 35 days, the court may
 enter a judgment against you for the relief plaintiffs demands, plus interest and costs of suit. If
 judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
 or part of the judgment.

          If you cannot afford an attorney, you may call the Legal Services office in the county
 where you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-
 888-576-5529). If you do not have an attorney and are not eligible for free legal assistance, you
 may obtain a referral to an attorney by calling one of the Lawyer Referral Services. A directory
 with contact information for local Legal Services Offices and Lawyer Referral Services is
 available in the Civil Division Management Office in the county listed above and online at
 http ://www.j ud iciary. state. nj .us/prose/10153_deptyclerklawref.pd f.

                                               /s/ Michelle M Smith
 Dated: May 11,2021                            Michelle M. Smith
                                               Clerk of the Superior Court of New Jersey

 Name of Defendant to be served:               MRS BPO, L.L.C.

 Address of Defendant to be served:            do Jeffrey M. Freedman
                                               1930 Olney Avenue
                                               Cherry Hill, New Jersey 08003




                                             Page 2 of 2
             ESX L 003614-21 05/07/2021
      Case 2:21-cv-12684-JMV-JBC    Document
                                        4:20:51 1-1 Filed
                                                AM Pg  1 of06/16/21
                                                            1 Trans ID:Page 4 of 35 PageID: 7
                                                                        LCV20211151935

ESSEX COUNTY - CIVIL DIVISION
SUPERIOR COURT OF NJ
465 MARTIN LUTHER KING JR BLVD
NEWARK           NJ 07102
                                                TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (973) 776-9300
COURT HOURS  8:30 AM - 4:30 PM

                                DATE:     MAY 06, 2021
                                RE:       SCIBILIA EDWARD VS MRS BPO,   L.L.C.
                                DOCKET:   ESX L -003614 21

       THE ABOVE CASE HAS BEEN ASSIGNED TO:     TRACK 4.

     DISCOVERY IS PRESUMPTIVELY 450 DAYS BUT MAY BE ENLARGED OR SHORTENED BY THE
JUDGE AND RUNS FROM THE FIRST ANSWER OR 90 DAYS FROM SERVICE ON THE FIRST
DEFENDANT, WHICHEVER COMES FIRST.
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

       THE MANAGING JUDGE ASSIGNED IS:     HON KEITH E.    LYNOTT

        IF YOU HAVE ANY QUESTIONS,   CONTACT TEAM         002
AT:    (973) 776-9300 EXT 56908.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: YONGMOON KIM
                                             KIM LAW FIRM LLC
                                             411 HACKENSACK AVE STE 701
                                             HACKENSACK       NJ 07601

ECOURTS
Case 2:21-cv-12684-JMV-JBC     Document
      ,ESX-L-003614-21 05/05/2021 10:37:231-1 Filed
                                           PM Pg 1 of06/16/21
                                                      1 Trans ID:Page 5 of 35 PageID: 8
                                                                  LCV20211141088




                          Civil Case Information Statement
  Case Details: ESSEX I Civil Part Docket# L-003614-21

 Case Caption: SCIBILIA EDWARD VS MRS BPO, L.L.C.                  Case Type: COMPLEX COMMERCIAL
 Case Initiation Date: 05/05/2021                                  Document Type: NJ eCourts Case Initiation Confirmation
 Attorney Name: YONGMOON KIM                                      Jury Demand: YES - 6 JURORS
 Firm Name: KIM LAW FIRM LLC                                       Is this a professional malpractice case? NO
 Address: 411 HACKEN SACK AVE STE 701                              Related cases pending: NO
 HACKENSACK NJ 07601                                               If yes, list docket numbers:
 Phone: 2012737117                                                 Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : Scibilia, Edward                      transaction or occurrence)? NO
 Name of Defendant's Primary Insurance Company
 (if known): None                                                 Are sexual abuse claims alleged by: Edward Scibilia? NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? YES
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? YES Title 59? NO Consumer Fraud? YES



 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 05/05/2021                                                                                             Is/ YONGMOON KIM
 Dated                                                                                                             Signed
      gSX-L7003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC       10:37:23 1-1
                              Document    PM Pg  1 of06/16/21
                                              Filed   16 Trans ID:Page
                                                                   LCV20211141088
                                                                       6 of 35 PageID: 9




  Yongmoon Kim (NJ Atty. ID #026122011)
  Kim LAW FIRM LLC
  411 Hackensack Avenue, Suite 701
  Hackensack, New Jersey 07601
  Telephone & Fax (201) 273-7117
  ykim@kimlf.com

  Ronald I. LeVine (NJ Atty. ID #278801972)
  ron@ronlevinelaw.com
  Eileen L. Linarducci (NJ Atty. ID #030891983)
  elinarducci@ronlevinelaw.com
  LAW OFFICE OF RONALD I. LEVINE, ESQ.
  210 River Street, Suite 11
  Hackensack, New Jersey 07601
  Tel. (201) 489-7900
  Fax (201) 489-1395

  Attorneys for Plaintiff Edward Scibilia


                                                            SUPERIOR COURT OF NEW JERSEY
  EDWARD SCIBILIA, on behalf ofhimself and                   LAW DIVISION: ESSEX COUNTY
  those similarly situated,
                                                                         Civil Action
                         Plaintiff,
                                                                         Docket No.
                  vs.
                                                              CLASS ACTION COMPLAINT
  MRS BPO, L.L.C.; and JOHN DOES 1 to 10,                         and JURY DEMAND

                         Defendants.


         Plaintiff Edward Scibilia, individually and on behalf of those similarly situated, by way

 of Class Action Complaint against Defendant MRS BPO, L.L.C., and John Does 1 to 10, state:

                                            NATURE OF THE CASE

         1.       This is a putative class action arising from Defendant, MRS BPO, L.L.C.'s

 unlawful disclosure of private financial information to third parties without the prior consent of

 the consumers.

         2.       The Fair Debt Collection Practices Act prohibits the disclosure of information to


                                              Page lof 16
       ,ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC         10:37:231-1
                                Document    PM Pg 2 of06/16/21
                                               Filed   16 Trans ID: LCV20211141088
                                                                 Page  7 of 35 PageID: 10




  third parties to prevent identity theft and invasions of privacy. As the National Consumer Law

  Center put it eloquently:

         As the world has gone digital, consumers' records, both financial and otherwise,
         are increasingly vulnerable to exposure. Transactions that were once fleeting,
         recorded only on paper and filed in some cabinet, or perhaps reduced to
         microfiche, are now but mouse-clicks away from duplication and dissemination.

         Unregulated databases, escalating numbers of mergers, and the proliferation of
         information brokers—private investigators who specialize in obtaining
         computerized records all threaten privacy. As was noted in Congress,
         "databases of personal identifiable information are increasingly prime targets of
         hackers, identity thieves, rogue employees, and other criminals, including
         organized and sophisticated criminal operations."

         The internet raises particular privacy concerns, as information sent over the World
         Wide Web may pass through dozens of different computer systems, each of which
         can snatch and hold the information in its coffers. In addition, website owners can
         track consumers' online behavior and gather information about their preferences,
         often without their knowledge. Web bugs, or tiny graphics that are put into web
         pages and e-mails, can monitor who views the information. Clickstream data can
         tell website owners which pages of the site were viewed and for how long.
         "Cookies" dropped onto a computer may not identify the user by name but do
         identify the particular computer, which allows an interested party to assemble a
         great deal of information about that computer's user.

         Financial information is especially sensitive, able to reveal not just a consumer's
         standard of living and debt load, but also personal preferences and lifestyle details
         ranging from books bought to prescriptions purchased. In California Bankers
         Ass 'n v. Shultz, Justice Powell pointed out that "[f]inancial transactions can reveal
         much about a person's activities, associations, and beliefs." Justice Douglas
         elaborated further:

         A checking account. . . [m]ay well record a citizen's activities, opinion, and
         beliefs as fully as transcripts of his telephone conversations . . . In a sense a
         person is defined by the checks he writes. By examining them the agents get to
         know his doctors, lawyers, creditors, political allies, social connections, religious
         affiliation, educational interests, the papers and magazines he reads, and so on ad
         infinitum.

         The same can be said of credit card charges, debit purchases, and online
         transactions. Forty years later, the details of these revealing consumer activities
         are easily collected, compiled, analyzed, and accessed, and thus have created a
         lucrative market for their trade. One industry leader among data aggregation
         companies, Acxiom, advertises that it has data on 2.5 billion consumers. Acxiom


                                             Page 2 of 16
Case 2:21-cv-12684-JMV-JBC     Document
        SX-L7003614-21 05/05/2021 10:37:231-1 Filed
                                           PM Pg      16 Trans ID:
                                                 3 of06/16/21   Page  8 of 35 PageID: 11
                                                                   LCV20211141088




         claims that one of its products covering American consumers has data on 250
         million consumers, offering data not just on individual demographics, but also
         household characteristics, financial information, life events, major purchases, and
         behavior, all of which allows for targeted marketing. Experian reports that it
         manages data on more than 300 million consumers and 126 million households,
         while Equifax claims a database of over 115 million U.S. households distributed
         over 150 different segment groups, which can be used to predict behavior. In
         2017, Equifax suffered a data breach that involved the personal data on nearly
         half the United States population being stolen, a breach that a Congressional
         committee found to have been "entirely preventable." In 2014, the Federal Trade
         Commission filed a complaint against another data broker that allegedly bought
         the payday loan applications of consumers and then sold the information to
         marketers with no legitimate need for it, leading some scammers among them to
         debit millions from the consumers' accounts.

  National Consumer Law Center, Fair Credit Reporting (9th ed. 2017) § 18.1, updated at

  www.ncic.org/library (footnotes omitted and alterations in original) (attached as Exhibit A).

         3.      For example, in enacting the FDCPA, Congress found "abundant evidence of the

  use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

  debt collection practices contribute to the number of personal bankruptcies, to marital instability,

  to the loss of jobs, and to invasions of individual privacy. 15 U.S.C. § 1692(a). See also

  Douglass v. Convergent Outsourcing, 765 F.3d 299, 303-04 (3d Cir. 2014) ("The disclosure of

  [the consumer's] account number raises these privacy concerns. The account number is a core

  piece of information pertaining to [the consumer's] status as a debtor and Convergent's debt

  collection effort. Disclosed to the public, it could be used to expose her financial predicament.

  Because Convergent's disclosure implicates core privacy concerns, it cannot be deemed

  benign.").

         4.      Despite the Douglass ruling, Defendant continues to misuse and unlawfully

  disclose private financial information about consumers to third-parties.

         5.      Defendant's disclosure of sensitive financial information to third parties is an act

  consistent with a course of conduct and practice which was either designed to, or had as its


                                             Page 3 of 16
       ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC
            ,                     10:37:231-1
                               Document    PM Pg      16 Trans ID:
                                                 4 of06/16/21
                                              Filed                LCV20211141088
                                                                Page  9 of 35 PageID: 12




  natural consequence, an attempt to obtain money from consumers through the use of false,

  misleading, deceptive, abusive, unfair, unconscionable, and unlawful conduct prohibited by

  common law and statutory law including, but not limited to, the Consumer Fraud Act ("CFA"),

  N.J.S.A. 56:8-1, et seq., and the Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. §§

   1692, et seq.

          6.       Defendant is subject to strict liability under the FDCPA for the prohibited

  communication with third parties "without the prior consent of the consumer given directly to the

  debt collector. . . in connection with the collection of [the] debt, with any person other than the

  consumer.        ." 15 U.S.C. § 1692c(b) and for violating 15 U.S.C. § 1692d(3).

          7.       Thus, Plaintiff bring this class action for damages against Defendant arising from

  Defendant's unlawful disclosure of sensitive and confidential personal identifying and financial

  information, when attempting to collect debts from New Jersey consumers.

          8.       Defendant is subject to strict liability under the FDCPA for communicating with

  third parties "without the prior consent of the consumer given directly to the debt collector . . . in

  connection with the collection of [the] debt, with any person other than the consumer. . . ."

                                           JURISDICTION AND VENUE

          9.       This Court has jurisdiction to entertain this matter pursuant to 15 U.S.C. §

  1692k(d) and 28 U.S.C. § 1331.

          10.      Venue is proper in Essex County because Defendant regularly conducts business

  there, including the collection of debts against New Jersey residents residing in Essex County.

                                                     PARTIES

          11.      Plaintiff, Edward Scihilia ("Scibilia"), is a natural person.

          12.      "Plaintiff" refers to Scibilia.

          13.      At all times relevant to this lawsuit, Plaintiff was a citizen of the State of New

                                                 Page 4 of 16
       �SX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC
             ,                    10:37:231-1
                              Document      PM Filed
                                                Pg Sof 16 Trans ID:
                                                     06/16/21   PageLCV20211141088
                                                                      10 of 35 PageID: 13




   Jersey.

             14.    Defendant, MRS BPI, L.L.C. ("Defendant" or "MRS") is a collection agency

   with an office located at 1930 llney Avenue, Cherry Hill, New Jersey 08003.

             15.    Defendants John Does 1 to 10 are natural persons and/or business entities all of

   whom reside or are located within the United States and personally created, instituted and, with

   knowledge that such practices were contrary to law, acted consistent with and oversaw policies

   and procedures used by the employees of Defendant that are the subject of this Complaint. Those

   defendants personally control the illegal acts, policies, and practices utilized by Defendant and,

   therefore, are personally liable for all of the wrongdoing alleged in this Complaint. Those

   fictitious names of individuals and businesses alleged for the purpose of substituting names of

   defendants whose identity will be disclosed in discovery and should be made parties to this

   action.

             16.   Some or all of John Does 1-10 set the policies and practices complained of herein.

             17.   Some or all of John Does 1-10 were actively engaged in the practices complained

   of herein.

             18.   In this pleading, "Defendants" in the plural refers to all Defendants.

                                           FACTUAL ALLEGATIONS

   A.        Allegations Regarding Defendant's Practices Generally

             19.   MRS regularly collects or attempts to collect debts that are past due.

             20.   MRS regularly collects or attempts to collect debts allegedly owed to others

   which were incurred primarily for personal, family or household purposes.

             21.   MRS is in the business of collecting debts or alleged debts of natural persons

  which arise from transactions which are primarily for personal, family, or household purposes.

             22.   The alleged receivables associated with the debts were assigned to MRS for the

                                               Page 5 of 16
       pSX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC    Document
                                  10:37:231-1
                                           PM Filed 06/16/21
                                              Pg 6 of          Page
                                                      16 Trans ID:   11 of 35 PageID: 14
                                                                   LCV20211141088




   purpose of collection.

          23.     MRS uses the mails, telephone, the intern& and other instruments of interstate

   commerce in engaging in the business of collecting defaulted debts or alleged debts of natural

   persons which arise from transactions which are primarily for personal, family, or household

   purposes.

          24.     MRS is a collection agency.

   B.     Plaintiff Scibilia

          25.     MRS has asserted that Scibilia allegedly incurred or owed certain financial

   obligations arising out of one or more personal accounts.

          26.     The debts ("Debts') arose from one or more transactions which were primarily for

   Scibilia's personal, family or household purposes.

          27.     These accounts ("Accounts") were assigned to MRS for collection.

          28.     MRS contends that the Accounts are past due and in default.

          29.     The Accounts were past due and in default at the time it was placed with or

   assigned to MRS for collection.

          30.    In an attempt to collect the Debts, MRS mailed collection letters to Scibilia on

   May 5, 2020 ("5/5/20 Letters"); June 2, 2020 ("6/2/20 Letters"); July 13, 2020 ("7/13/20

  Letters"); and August 5, 2020 ("8/5/20 Letters") to collect.

          31.    A true copy of the 5/5/20 Letters, 6/2/20 Letters, 7/13/20 Letters, and the 8/5/20

  Letters but with redactions, is attached as Exhibit B.

          32.    Scibilia received and reviewed the 5/5/20 Letters, 6/2/20 Letters, 7/13/20 Letters

  and the 8/5/20 Letters.

          33.    Upon information and belief, the 5/5/20 Letters, 6/2/20 Letters, 7/13/20 Letters



                                             Page 6 of 16
       pSX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC    Document     PM Filed
                                  10:37:231-1 Pg 7 of 16 Trans ID:
                                                    06/16/21       LCV20211141088
                                                                Page 12 of 35 PageID: 15




   and the 8/5/20 Letters were mailed using a third-party letter vendor.

           34.     Scibilia never provided consent to Defendant to communicate to third parties

   regarding his Debts.

           35.     By using a letter vendor, Defendant has recklessly disclosed Scibilia's personal

   identifying information and private information about his Debts to a third party without

   Scibilia's prior consent.

           36.     Defendant unlawfully disclosed information about Scibilia's Debts including the

   account numbers associated with the Debts and the alleged balances due.

           37.     The FDCPA prohibits a debt collector from communicating with third parties

   "without the prior consent of the consumer given directly to the debt collector. . . in connection

   with the collection of any debt, with any person other than the consumer, his attorney, a

   consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the

   creditor, or the attorney of the debt collector ."1

           38.     The FDCPA also prohibits "[t]he publication of a list of consumers who allegedly

   refuse to pay debts.     ."2

           39.     Unlawfully communicating with a third party letter vendor regarding Plaintiffs

   debts violates the FDCPA because it is impermissible communication under sections 1692c(b) and

   1692d(3) which has the potential to cause harm to a consumer.3

          40.      MRS used the same procedures it used in sending the MRS Lettere to Plaintiff




  115 U.S.C. § 1692c(b).
  2 15 U.S.C. § 1692d(3).
  3 See Hunstein v. Preferred Collection & Mgmt. Servs.,      F.3d , 2021 U.S. App. LEXIS
  11648 (11th Cir. 2021) (communicating with third party letter vendor violated the FDCPA).
    "MRS Letters" refers to the 5/5/20 Letters, 6/2/20 Letters, 7/13/20 Letters and the 8/5/20
  Letters.

                                                Page 7 of 16
       ESX-L7003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                              Document     PM Filed
                                              Pg 8 of 16 Trans ID:
                                                    06/16/21   PageLCV20211141088
                                                                     13 of 35 PageID: 16




   when sending the same and/or similar letters to numerous other New Jersey consumers.

           41.     During the proposed class period, MRS sent letters the same or similar to the MRS

   Letters to numerous New Jersey consumers in an attempt to collect a debt.

           42.     It is MRS's policy and practice to unlawfully communicate and convey private

   and sensitive information about consumers with third parties by using third party vendors to send

   written collection communications in attempts to collect consumer debts.

           43.     Upon information and belief, MRS published a list of debtors, including Plaintiff,

   that allegedly refuse to pay debts.

                                          CLASS ACTION ALLEGATIONS

           44.     Plaintiff brings this action individually and as a class action on behalf of all others

   similarly situated pursuant to Rule 4:32 of the New Jersey Rules of Court.

           45.     Subject to discovery and further investigation which may require Plaintiff to modify

   the following class definition at the time Plaintiff moves for class certification, Plaintiff seeks

   certification of a class initially defined as follows:

                   Class: All natural persons residing in the State of New Jersey
                   whose information was disclosed by Defendant to a third party on
                   or after May 5, 2015, in an attempt to collect a Chase account.

                            FDCPA Subclass: All natural persons residing in the State
                            of New Jersey, to whom Defendant sent a collection letter;
                            which letter (a) was dated within one year prior to May 5,
                            2021; (b) was seeking to collect a consumer debt allegedly
                            owed to Chase; and (c) was sent using a third party letter
                            vendor.

           46.     Plaintiff seeks to recover statutory damages, actual damages, and attorney's fees

   and costs on behalf of himself and all class members under the claims asserted herein.

           47.     The Class for whose benefit this action is brought is so numerous that joinder of

  all members is impracticable.



                                                  Page 8 of 16
Case 2:21-cv-12684-JMV-JBC    Document
       PSX-L7003614-21 05/05/2021 10:37:231-1
                                           PM Filed 06/16/21
                                              Pg 9 of           Page
                                                      16 Trans ID:   14 of 35 PageID: 17
                                                                   LCV20211141088




          48.     There are questions of law and fact common to the members of the Class that

   predominate over questions affecting only individuals.

          49.     A class action is superior to other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. A class action will

   cause an orderly and expeditious administration of the claims of the Class and will foster

   economies of time, effort and expense by avoiding thousands of individual suits that will be

   based on the same legal theories that can be resolved in a single proceeding.

          50.     Plaintiff's claim is typical of the claims of the members of the Class. They are a

   member of the Class.

          51.     The questions of law and/or fact common to the members of the Class

   predominate over any questions affecting only individual members.

          52.     Plaintiff does not have interests antagonistic to those of the Class.

          53.     The Class, of which Plaintiff is a member, are readily identifiable. The Defendant

   has records of each account.

          54.     Plaintiff will fairly and adequately protect the interests of the Class, and have

  retained competent counsel experienced in the prosecution of consumer litigation. Proposed

   Class Counsel have investigated and identified potential claims in the action; have a great deal of

  experience in handling class actions, other complex litigation, and claims of the type asserted in

  this action.

          55.     The prosecution of separate actions by individual members of the Class would run

  the risk of inconsistent or varying adjudications, which would establish incompatible standards

  of conduct fol the Defendant in this action oi the prosecution of separate actions by individual

  members of the class would create the risk that adjudications with respect to individual members



                                              Page 9 of 16
       ÉSX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC                 PM Filed
                                  10:37:231-1
                               Document       Pg 10 06/16/21    ID: LCV20211141088
                                                    of 16 Trans Page  15 of 35 PageID: 18




   of the class would as a practical matter be dispositive of the interests of the other members not

   parties to the adjudications or substantially impair or impede their ability to protect their

   interests. Prosecution as a class action will eliminate the possibility of repetitious litigation.

           56.       Plaintiff does not anticipate any difficulty in the management of this litigation.

                                          FIRST COuNт
                      DECLARATORY JUDGMENT Ø INJUNCTIVE RELIEF FOR TØ CLAss

           57.       Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

           58.       Defendant's prohibited disclosure of private and sensitive information constitute

   unfair and unconscionable commercial practices and otherwise violate the Consumer Fraud Act

   ("CFA") at N.LS.A. 56:8-2 and the FDCPA at 15 U.S.C. § 1692 et seq.

           59.       Plaintiff suffered ascertainable loss from Defendant's CFA violations.

          60.        Plaintiff therefore has standing to seek injunctive and other equitable relief under

   the CFA, at Nj.S.A. 56:8-19, and the FDCPA.

          61.        Moreover, under the Uniform Declaratory Judgments Law at N.J.S.A. 2A:1 6-53,

   the Plaintiff and the putative Class members can seek declaratory relief.

          62.        The Defendant and its agents or others acting on their behalf should be enjoined

   from any further action or failing to take actions that result in any invasion of privacy, retain

   benefits from its illegal acts by the use of protected private and financial information.

          WHEREFORE, as to Count One, Plaintiff, on behalf of himself and the putative class

   members, hereby requests a Judgment against Defendant, jointly and severally,

          a. Granting class certification for class-wide equitable relief under R. 4:32-1(b)(2), and

                 issuing a declaratory judgment applicable to the Plaintiff and putative Class and

                 Subclass, pursuant to the Uniform Declaratory Judgments Law at N.J.S.A. 2A:16-53,

                 ruling that:


                                                 Page 10 of 16
        SX-L7003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                              Document     PM Filed
                                              Pg 11 06/16/21
                                                    of 16 Trans Page
                                                                ID: LCV20211141088
                                                                      16 of 35 PageID: 19




                            1. Defendant violated the CFA.

                            2. Defendant violated the FDCPA.

           b. Granting a permanent injunction against the Defendant, pursuant to the CFA, at

                 N.J.S.A. 56:8-19, and the FDCPA prohibiting them from the disclosure of consumer's

                 information;

           c. Directing the Defendant to provide equitable notice relief pursuant to the CFA and

                 FDCPA, providing for notice to Class members of the declaratory and injunctive ruling.

           d. Awarding Plaintiff's counsel reasonable attorneys' fees and costs under the CFA;

           e. For such other and further relief as the Court deems equitable and just.

                                         SECOND COUNT
                   DAMAGES UNDER THE CONSUMER FRAUD ACT ON BEHALF OF THE CLASS

           63.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

           64.      Defendant is a "person" within the meaning of the CFA at N.J.S.A. 56:8-1.

           65.      Plaintiff and those similarly situated obtained "merchandise" within the meaning of

   the CFA at N.J.S.A. 56:8-1.

          66.       Defendant engaged in unconscionable commercial practices, deception, fraud,

   false promises, false pretenses and/or misrepresentations in connection with the sale of

   merchandise in violation of the CFA at N.J.S.A. 56:8-2.

          67.       Defendant engaged in unconscionable commercial practices, deception, fraud,

   false promises, false pretenses and/or misrepresentations in the subsequent performance of the

   sale of merchandise in violation of the CFA at N.J.S.A. 56:8-2.

          68.       Defendant committed unconscionable commercial practices, deception, fraud,

   false promises, false pretenses and/or misrepresentations in direct violation of the CFA at

  N.J.S.A. 56:8-2.


                                                Page 11 of 16
        SX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                               Document    PM Pg  12 06/16/21
                                              Filed  of 16 Trans Page
                                                                 ID: LCV20211141088
                                                                       17 of 35 PageID: 20




          69.      As a result of Defendant's unlawful actions, Plaintiff and the Class members

   suffered ascertainable loss from Defendant's CFA violations, entitling them to treble damages

   under the CFA, at N.J.S.A. 56:8-19.

          WHEREFORE, as to Count Two, Plaintiff, on behalf of himself and the putative Class

          members, hereby requests a Judgment against Defendant,

          a. Granting class certification of the Subclass under R. 4:32-1(b)(3);

          b. Awarding treble damages under the CFA, at N.J.S.A. 56:8-19;

          c. Alternatively awarding a refund of all moneys collected under the CFA, at N.J.S.A.

                56:8-2.11;

          d. Awarding Plaintiff's counsel reasonable attorneys' fees and costs under the CFA, at

                N.J.S.A. 56:8-19;

          e. For pre-judgment and post-judgment interest; and

          f. For such other and further relief as the Court deems equitable and just.

                                              THIRD CouNT
                                    NEGLIGENCE ON BEHALF OF THE CLASS

          70.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

          71.      Defendant owed the Plaintiff a duty to maintain the confidentiality of their private

   and financial information.

          72.      Expert testimony is not required to establish that the disclosure of confidential and

   protected information breaches a commonly known duty owed by Defendant.

          73.      The disclosure of the confidential and protected information of the Plaintiff and

   the Class damaged them by exposing their private information to persons who lacked any right

   or entitlement to know their private information.

          74.       The Plaintiff and others have suffered a compensablc loss arising from the


                                                Page 12 of 16
       ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                               Document    PM Filed
                                              Pg 13 06/16/21
                                                    of 16 Trans Page
                                                                ID: LCV20211141088
                                                                      18 of 35 PageID: 21




   disclosure of their protected private and financial information.

            75.      The Class has likewise suffered a compensable loss arising from the disclosure of

   their protected private and financial information.

            WHEREFORE, as to Count Three, Plaintiff, on behalf of himself and the putative Class

            members, hereby requests a Judgment against Defendant,

            a. Granting class certification of the Class under R. 4:32-1(b)(3);

            b. A money judgment for compensatory damages based on the Defendant's disclosure

                  of the Plaintiff and Class' private information;

            c. For attorney's fees, litigation expenses and costs in connection with this action;

            d. For pre-judgment and post-judgment interest; and

            e. For such other and further relief as the Court deems equitable and just.


                                                FOURTH COUNT
                                 INVASION OF PRIVACY ON BEHALF OF THE CLASS

            76.      Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

            77.      Defendant invaded the privacy of Plaintiff by unreasonable publication of private

   facts.

            78.      These private facts, Plaintiff's financial information, are actually private matters,

   the dissemination of such facts would be offensive to a reasonable person and there is no

   legitimate interest of the public in being apprised of the facts publicized.

            79.      Expert testimony is not required to establish that the disclosure of confidential

   financial information invaded a person's privacy.

            80.      By publishing the private financial information of the Plaintiff and the Class,

   Defendant damaged them by exposing their private information to persons who lacked any right

   or entitlement to know their private financial information.

                                                  Page 13 of 16
       FSX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                               Document    PM Filed
                                              Pg 14 06/16/21
                                                    of 16 Trans Page
                                                                ID: LCV20211141088
                                                                      19 of 35 PageID: 22




           81.       The Plaintiff and others have suffered a compensable loss arising from the

   invasion of their privacy.

           82.       The Class has likewise suffered a compensable loss arising from the invasion of

   their privacy.

          WHEREFORE, as to Count Four, Plaintiff, on behalf of himself and the putative Class

          members, hereby requests a Judgment against Defendant,

          a. Granting class certification of the Class under R. 4:32-1(b)(3);

          b. A money judgment for compensatory damages based on the Defendant's invasion of

                 the privacy of the Plaintiff and Class;

          c. For attorney's fees, litigation expenses and costs in connection with this action;

          d. For pre-judgment and post-judgment interest; and

          e. For such other and further relief as the Court deems equitable and just.

                                             COUNT FIVE
                     FALR DEBT COLLECTION PRACTICES ACT FOR THE FDCPA SUBCLASS

          83.       Plaintiff repeats and realleges all prior allegations as if set forth at length herein.

          84.       Defendant is a "debt collector" within the meaning of 15 U.S.C. § 169246).

          85.       The Debts are "debt[s]" within the meaning of 15 U.S.C. §169245).

          86.       Plaintiff is a "consumer" within the meaning of 15 U.S.C. § 1692a(3).

          87.       The MRS Letters are "communication[s]" as defined by 15 U.S.C. § 1692a(2).

          88.       Defendant sent the MRS Letters in an attempt to collect a "debt" within the

   meaning of 15 U.S.C. §1692a(5).

          89.       Defendant violated the FDCPA including sections 1692c, 1692c(b), 1692d,

   1692d(3), and 1692f of the FDCPA.

          90.       Based on any one of those violations, Defendant is liable to Plaintiff and the Class


                                                Page 14 of 16
       ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                               Document    PM Filed
                                              Pg 15 06/16/21
                                                    of 16 Trans Page
                                                                ID: LCV20211141088
                                                                      20 of 35 PageID: 23




   for statutory damages, attorney's fees and costs under 15            § 1692k.

           WHEREFORE, as to Count Five, Plaintiff, on behalf of himself and the putative Class

   members, hereby requests a Judgment against Defendant, MRS BPO, L.L.C.,

           a. An order certifying that the Cause of Action may be maintained as a class
              pursuant to R. 4:32 including defining the class, defining the class claims, and
              appointing Plaintiff as the class representative and the undersigned attorney as
              class counsel;

          b. An award of statutory damages for Plaintiff pursuant to 15 U.S.C.
             § 1692k(a)(2)(A) and § 1692k(a)(2)(B)(i);

           c. An award of statutory damages for the Class pursuant to 15 U.S.C.
              § 1692k(a)(2)(B)(ii);

          d. Attorney's fees, litigation expenses, and costs pursuant to 15 U.S.C.
             § 1692k(a)(B)(3); and

          e. For pre-judgment and post-judgment interest; and

          f. For such other and further relief as may be just and proper.

                                            JURY DEMAND

          Plaintiff demands a trial by jury on all issues subject to trial by jury.


                               DESIGNATION OF TRIAL COUNSEL

          Pursuant to Rule 4:25-4, Yongmoon Kim is designated as trial counsel for Plaintiff.


                                           CERTIFICATION

          Pursuant to Rule 4:5-1, I hereby certify to the best of my knowledge that the matter in

   controversy is not the subject of any action pending in any court or the subject of a pending

  arbitration proceeding, nor is any other action or arbitration proceeding contemplated. I further

  certify that I know of no party who should be joined in this action at this time.

          I hereby certify that pursuant to Rule 1:38-7: All confidential identifiers of the parties to


                                              Page 15 of 16
       FSX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC        10:37:231-1
                               Document    PM Filed
                                              Pg 16 06/16/21
                                                    of 16 Trans Page
                                                                ID: LCV20211141088
                                                                      21 of 35 PageID: 24




   this action have been redacted from all documents or pleadings submitted to the Court.


   Dated: May 5, 2021                          Kim LAW FIRM LLC

                                               /s/ Yongmoon Kim
                                               Yong-rnoon Kim, Esq.

                                               Attorneys for Plaintiff




                                            Page 16 of 16
          ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC           10:37:23
                               Document    1-1PM Filed
                                                  Pg 1 of 5 Trans ID:Page
                                                       06/16/21       LCV20211141088
                                                                          22 of 35 PageID: 25
   NC LC 18.1 Introduction
   1'1' •I " Published on NCLC Digital Library (https://library.nelc.org)
   LI H.AR)
             Date downloaded: April 26, 2021 6:52 pm

  The Fair Credit Reporting Act (FCRA) protects a limited segment of financial privacy, by regulating consumer reporting
  agencies (CRAs) that collect credit information about consumers, those who provide information to the CRAs, and those who
  seek information from CRAs. However, many consumer financial transactions do not fall within the FCRA, and other sources
  of privacy law must be examined to sec if they can protect personal financial data from those who seek to acquire and exploit
  it. Discussed below are some federal statutes, state statutes, common law tort claims, and identity theft laws that may serve to
  shield consumers' economic conduct.

  As the world has gone digital, consumers' records, both financial and otherwise, are increasingly vulnerable to exposure.
  Transactions that were once fleeting, recorded only on paper and filed in some cabinet, or perhaps reduced to microfiche, are
  now but mouse-clicks away from duplication and dissemination.

  Unregulated databases, escalating numbers of mergers, and the proliferation of information brokers—private investigators who
  specialize in obtaining computerized records—all threaten privacy. As was noted in Congress, "databases of personal
  identifiable information are increasingly prime targets of hackers, identity thieves, rogue employees, and other criminals,
  including organized and sophisticated criminal operations."'

  The intern& raises particular privacy concerns, as information sent over the World Wide Web may pass through dozens of
  different computer systems, each of which can snatch and hold the information in its coffers. In addition, website owners can
  track consumers' online behavior and gather information about their preferences, often without their knowledge. Web bugs, or
  tiny graphics that are put into web pages and e-mails, can monitor who views the information. Clickstream data can tell
  website owners which pages of the site were viewed and for how long. "Cookies" dropped onto a computer may not identify
  the user by name but do identify the particular computer, which allows an interested party to assemble a great deal of
  information about that computer's user.2

 Financial information is especially sensitive, able to reveal not just a consumer's standard of living and debt load, but also
 personal preferences and lifestyle details ranging from books bought to prescriptions purchased. In California Bankers Ass 'n
 v. Shultz,1 Justice Powell pointed out that "fflinancial transactions can reveal much about a person's activities, associations,
 and beliefs." Justice Douglas elaborated further:


             checking account. . . [inlay well record a citizen's activities, opinion, and beliefs as fully as transcripts of his
           elephone conversations. . . In a sense a person is defined by the checks he writes. By examining them the agents get to
            now his doctors, lawyers, creditors, political allies, social connections, religious affiliation, educational interests, the
            apers and magazines he reads, and so on ad infinitum.4


 The same can be said of credit card charges, debit purchases, and online transactions. Forty years later, the details of these
 revealing consumer activities are easily collected, compiled, analyzed, and accessed, and thus have created a lucrative market
 for their trade. One industry leader among data aggregation companies, Acxiom, advertises that it has data on 2.5 billion
 consumers.5 Acxiom claims that one of its products covering American consumers has data on 250 million consumers, offering
 data not just on individual demographics, but also household characteristics, financial information, life events, major
 purchases, and behavior, all of which allows for targeted marketing.6Experian reports that it manages data on more than 300
 million consumers and 126 million households,2 while Equifax claims a database of over 115 million U.S. households
 distributed over 150 different segment groups, which can be used to predict behavior./ In 2017, Equifax suffered a data breach
 that involved the personal data on nearly half the United States population being stolen, a breach that a Congressional
 committee found to have been "entirely preventable."2 In 2014, the Federal Trade Commission filed a complaint against
 another data broker that allegedly bought the payday loan applications of consumers and then sold the information to marketers
 with no legitimate need for it, leading some scammers among them to debit millions from the consumers' accounts!°

 Marketers are intensely interested in consumers' online and other behavior so they can pinpoint consumers for advertising.'"
 Businesses want to learn as much about consumers as possible.12 Furthermore, since the 9/11 attacks, the federal government,
 specifically the National Security Agency, has voraciously sought data about individuals both inside and outside the United
 States.il Political groups seek out and aggregate information about consumers to assign them "persuasion scores" that purport
 to measure how likely that consumer is to vote for or against a particular candidate. 14 Even the mundane task of grocery
 shopping is considered sufficiently informative that supermarkets use "loyalty cards" to track every item purchased by every
 cardholder, and they are free to sell that information to an one who mi ht be interested. There is a ncar insatiable hunger to
 0 Copyright, National Consumer   wC      Inc., Aighls
 National Consumer Law Center     NC   arc Ira                                                                           Page 1 of 5
          ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC           10:37:23
                                Document      PM Filed
                                            1-1   Pg 2 of 5 Trans ID:Page
                                                       06/16/21       LCV20211141088
                                                                          23 of 35 PageID: 26
  NCIC" 18.1 Initroduction
  f)IG ITAL Published on NCLC Digital Library (https://library.ncle.org)
  L IKA RV
            Date downloaded: April 26, 2021 6:52 pm
  leam how consumers get and spend their money.

  Notwithstanding the sensitivity embedded in a person's financial choices, they are, for the most part, fair game for trade.
  While federal law protects against disclosure of video rental preferences,15 cable viewing preferences,16 medical records,I2 and
  student records,la it does not yet prevent financial or other institutions from seiling their customers' Social Sectuity numbers,
  account balances, maturity dates, securities holdings, or other information to private entities.19 Consequently, consumers
  remain largely ignorant of the trafficking in such personal information.

 In 2014, the FTC conducted an in-depth study of nine data brokers that collect personal information about consumers and then
 seil it for marketing and other purposes, and issued an extensive and aten critical report. 21/ In addition to describing the
 processes by which data brokers gather and use consumer information, the agency called for Congress to "consider enacting
 legislation that would enable consumers to learn of the existence and activities of data brokers and provide consumers with
 reasonable access to information about them held by these entities."21 In effect, this is a call for Congress to extend some of the
 basic rights provided by the FCRA to data that falls °utside that act. However, there could be downsides to such legislation to
 regulate data brokers, such as preemption of stronger state laws and potential impairment of the FCRA if brokers are covered
 under both that Act and the proposed law.

 Though the FCRA limits some disclosures by private parties of consumer financial information, it does not give consumers the
 right to prohibit a CRA from disclosing accurate, nonobsolete information to those deemed to have a permissible purpose.
 Furthermore, white some data warehousers fall within the definition of a CRA,23 others that seil their records for reasons other
 than those included in the definition of a CRA may evade the FCRA's restrictions.24

 In addition, the Gramm-Leach-Bliley Act (the GLBA) gives consumers a limited right to "opt out" of certain disclosures by
 financial institutions to nonaffiliated third parties.2 However, its abundant exceptions arguably all but destroy the protection it
 purports to provide.

 American privacy law is poorly suited to protecting privacy, especially of computerized consumer information. Aside from the
 FCRA, privacy laws largely fall into threc categories: laws protecting personal privacy from invasions by govemments, federal
 or local; the common law tort of invasion of privacy; and statutes and case law that prohibit private parties from obtaining or
 disclosing specific types of information. Relevant provisions of the GLBA2awill be described in this last category;22they
 impose certain notice requirements on financial institutions who disclose financial data and a limited right for consumers to opt
 out of some kinds of disclosures.




 Footnotes
    1 {1} Personal Data Privacy and Security Act of 2005, S. 1332, 109th Cong. (June 29, 2005).


    2 {2} See ~pkisulp~in~aokies_[1].


    3 {3} 416 U.S. 21 (1974).


    4 {4} Id. at 85, 90 (Douglas, J., dissenting).


    5 Acxiom Data: Unparalleled Global Consumer Insights [2] 2, available at https://www.aoxiom.com.


    6 Acxiom Data: Unparalleled Global Constuner insights [2] 3-4, available at https://www.acxiom.com.


    7 {7} Experian, Experian Marketing Services: Consumer View [3], available at https://www.experian.com.


   Copyright, National Consumer   w              -ghts       •
 National Consumer Law Center     NC               of    hon Co um I     'crIr, Inc                                   Page 2 of 5
          ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC           10:37:23
                                Document      PM Filed
                                            1-1   Pg 3 of 5 Trans ID:Page
                                                       06/16/21       LCV20211141088
                                                                          24 of 35 PageID: 27
  NC LC' 18.1 Introduction
    IfAL Published on NCLC Digital Library (https://library.ncic.org)
    BRAtn.
           Date downloaded: April 26, 2021 6:52 pm

    8 181 Equifax, Compiled Data [4], available at vvww.equifax.com. In 2017, Equifax had credit information on 820 million
         consumers. U.S. House of Representatives, Committee on Oversight and Government Reform Majority Staff Report,
         The Equifax Data Breach [5] 15 (Dec. 2018), available at https://republicans-oversight.house.gov.


    9 U.S. House of Representatives, Committee on Oversight and Government Reform Majority Staff Report, The_hq. nifax
         Data Breach [5] 2 (Dec. 2018), available at https://republicans-oversight.house.gov.


    10 {10} Fed, Trade Comm'n. FTC Charges Data Broker with Facilitating the Theft of Millions of Dollars from Consumers'
         Accounts (Dec. 23, 201') [6], available at www.fte.gov.


    11 11I1 See Frank Pasquale, The Dark Market for Personal Data, N.Y. Times, Oct. 16, 2014.


    12 {12} See, e.g., Stephanie Clifford and Quentin Hardy, Attention, Shoppers: Store Is Tracking Your Cell, N.Y. Times, July
         14, 2013; Your Privacy for Sale, Consumer Rep. (Oct. 2006).


    13 1131 See James Risen and Laura Poitras. N.S.A. Gathers Data on Social Connections of U.S. Citizens. N.Y. Times. Sept,
        28_, 2013 [7], available at wvvw.nytimes.com (describing the practices of NSA in analyzing phone call and e-mail logs,
        along with material from "public, commercial and other sources, including bank codes, insurance information,
        Facebook profiles, passenger manifests, voter registration rolls and GPS location information," for both foreigners and
        Americans alike).


    14 {14} For instance, in the 2016 election the data analytics company Cambridge Analytica claimed to have developed
        "psychographic" profiles on potential voters that the Trump campaign could exploit to grow its voter base. See
        Nicholas Confessore and Danny Hakim, Data Firm Says "Secret Sauce" Aided Trump; Many Scoff, N.Y. Times, Mar.
        6, 2017, at Al. See also Jim Rutenberg, Data You Can Believe In: The Obama Campaign's Digital Masterminds Cash
        In, N.Y. Times Magazine, June 20, 2013. One data-mining company that specializes in voter information, Aristotle,
        Inc., advertises that it maintains a "massive and ever-expanding database [that] includes over 190 million U.S. voters"
        and that it can "microtarget[]" individuals based on their "interests and hobbies," along with "political district, political
        party affiliation, super-voters, gender, ethnicity, marital status, wealth, educational level and presence of children."
        http://aristotle.com/political-data [8].


    15 {15} Video Privacy Protection Act of 1988, 18 U.S.C. § 2710.

    Several states have similar acts, some of which extend beyond prohibiting merely the disclosure of video rental records to
        the disclosure of the purchase or rental of any written materials. See, e.g., Mich. Comp. Laws § 445.1712 (known as
        both Michigan's Preservation of Privacy Act and the Video Rental Privacy Act) (prohibiting, with exceptions anyone
        who is "engaged in the business of selling at retail. . . written materials" from disclosing information about the
        transaction in a way that "indicates the identity of the customer"). See also Coulter-Owens v. Rodale, Inc., 2015 WL
        575004, at *4 (E.D. Mich. Feb. 11, 2015) (denying dismissal of claim under state video rental privacy act arising from
        the alleged sale by the defendant, a magazine publisher, of subscribers' information to data-mining companies). The
        Sixth Circuit recently limited the reach of Michigan's act by concluding that a magazine publisher that used
        independent third parties to sell subscriptions could not be liable to a customer who had bought a subscription to its
        publication because the publisher was therefore not "in the business of selling at retail." Coulter-Owens v. Time Inc.,
        695 Fed. Appx. 117, 123-124 (6th Cir. 2017).


    16 1161 Cable Communications Policy Act of 1984, 47 U.S.C. § 551(e). Note that the USA PATRIOT Act expanded the list
        of disclosures permitted by the Cable Communications Policy Act by adding certain disclosures made to specified
        government authorities. Pub. L. No. 107-56, § 211 (Oct. 26, 2001), amending 47 U.S.C. § 551(c).


                                                                      111
                                                                       t
 0 Copyright, National Consumer tw ctes4 Inc., A   "ghts        • Tc
 National Consumer Law Center an NCN arc Ira         of    tion Co um         r, Inc                                   Page 3 of 5
         ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC          10:37:23
                               Document      PM Filed
                                           1-1  Pg 4 of 5 Trans ID:Page
                                                      06/16/21      LCV20211141088
                                                                        25 of 35 PageID: 28
  NCLC" 18.1 Introduction
   iikR.kmI Published on NCLC Digital Library (https://library.ncic.org)
            Date downloaded: April 26, 2021 6:52 pm
           17 {17} Most health insurers and providers must comply with the Privacy Rule promulgated pursuant to the Health
          Insurance Portability and Accountability Act (HIPAA). 45 C.F.R. §§ 160.101 to 160.312, §§ 164.102 to 164.534. The
          HIPAA Privacy Rule generally prohibits covered entities from using or disclosing protected health inforrnation except
          as specifically allowed. Among the permitted disclosures are those to CRAs for purposes of payment, so long as the
          disclosure is limited to the following information: name and address, date of birth, Social Security number, payment
          history, account number, and name and address of the health care provider. 45 C.F.R. §§ 164.501, 164.506(c)(1). In
          2009, Congress expanded the categories of those subject to HIPAA's anti-disclosure requirements in the Health
          Information Technology for Economic and Clinical Health Act (the HITECH Act). Pub. L. No. 111-5, 123 Stat. 115
          (Feb. 7, 2009) (codified in scattered sections of titles 26 and 42 of the United States Code). See also 45 C.F.R. §
          160.103 (containing an expanded definition of the "business associates" who are subject to the anti-disclosure
          provisions). For a discussion of the HIPAA Privacy Rule, see National Consumer Law Center, Collection Actions §
          9.3.4 [9] (4th cd. 2017), updated at www.ncic.org/library. See § 5.4 [10], supra, for a discussion of the FCRA's
          restrictions on medical information.


    18 {18) Family Educational Rights & Privacy Act of 1974, 20 U.S.C. § 1232g.


    19 {19} Federal law prohibits firms and persons who regularly prepare income tax returns for others from disclosing
        personal tax information or using it for other purposes, with a few exceptions. 26 U.S.C. § 7216. The Privacy Act of
         1974, 5 U.S.C. § 552a, requires all government agencies, whether federal, state, or local, that request Social Security
        numbers to provide a disclosure statement that explains whether the consumer is required to provide the number, how it
        will be used, and under what statutory authority the agency is requesting the number. The Act provides that a consumer
        cannot be denied a benefit for refusing to provide the number unless the number is required by federal law (or the
        disclosure is to an agency that had been using Social Security numbers prior to enactment of the Privacy Act).
        Although usually a consumer is not compelled to disclose her Social Security number to a private business, no federal
        law prohibits them from asking for it or from refusing to do business with a consumer who refuses to provide it.


    20 {20} Fed. Trade Comm_'n, Data Brokers: A Call for Transparency and Accountability, at i (May 2014) [11], available at
        www.fte.gov.


    21 (21) Id. at vii. The FTC noted these specific concerns: "Data brokers acquire a vast array of detailed and specific
         information about consumers; analyze it to make inferences about consumers, some of which may be considered
         sensitive; and share the information with clients in a range of industries. All of this activity takes place behind the
        scenes, without consumers knowledge." Id. (emphasis added).


    22 {22} The Act additionally imposes some restrictions on users of consumer reports and imposes obligations on those that
         furnish information to CRAs to provide accurate information. See Chs. 6 [12] and 2. [13], supra. Some state laws give
        consumers the right to deny access to, or to "freeze," their consumer reports. See § 9.4.1 [14], supra, and Appx. H [15],
         infra.


    23 (23) See § 2.7.5 [16], supra.


    24 {24} U.S. Gov't Accountability Office, GA0-06-674, Report to the Committee on Banking, Housing and Urban Affairs,
        U.S. Senate: Personal Information: Key Federal Privacy Laws Do Not Require Information Resellers to Safeguard All
         Sensitive Data (June 2006). See generally Ch. 2 [17], supra (discussing what constitutes a "consumer report" and
        "conswilet iepui Ling agency").


    25 1251 See § 18.4.1 [18], infra.


   26 {26} For example, through wiretapping. See, e.g., 18 U.S.C. § 2510; Cal. Penal Code §§ 631 to 637; Conn. Gen. Stat.
       Ann. §§ 53a-187 to
 O Copyright, National Consumer         Inc.. A   ghts
 National Consumer Law Center a                                                r, Inc                                   Page 4 of 5
          ESX-L-003614-21 05/05/2021
Case 2:21-cv-12684-JMV-JBC           10:37:23
                                Document    1-1PM Filed
                                                   Pg 5 of 5 Trans ID:Page
                                                        06/16/21       LCV20211141088
                                                                           26 of 35 PageID: 29
  NC LC" 18.1 Introduction
  LI BRAM
          Published on NCLC Digital Library (https://library.ncic.org)
          Date downloaded: April 26, 2021 6:52 pm



    27 {27) For example, the disclosure of customers' video recording rentals. See, e.g., Cal. Civ. Code § 1799.3 (West); Conn.
        Gen. Stat. Ann. § 53-450; Iowa Code Ann. § 727.11.


    28 {28} 15 U.S.C. §§ 6801 to 6810.


    29 {29} See § 18.4.1 [18], infra.




  Source: National Consumer Law Center, Fair Credit Reporting [9th ed.], updated at vv-vvw.ncic.org/library
  Source URL: https://library.ncic.org/fcr/1801-0


 Links
 [1] http://www.epic.org/privacy/intemet/cookies
 [2] https://www.aexiom.corn/wp-content/uploads/2019/02/Acxiom Data_overview_2019_02.pdf
 [3] https://www.experian.com/marketing-serviccs/targeting/data-driven-marketing
 [4] http://www.equifax.corn/compiled-data/
 [5] https://republicans-oversight.house.gov/wp-content/uploads/2018/12/Equifax-Report.pdf
 [6] https://www.ftc.govinews-events/press-releases/2014/12/ftc-charges-data-broker-facilitating-theft-millions-dollars
 [7] http://www.nytimes.com/2013/09/29/us/nsa-examines-social-networks-of-us-citizens.html?_r---0
 [8] http://aristotle.com/political-data
 [9] https://library.ncic.org/ncic/link/CA.09.03.04
 [10] https://library.ncic.org/nelc/link/FCR.05.04
 [11] https://www.ftc.gov/system/files/documents/reports/data-brokers-call-transparency-aceountability-report-federal-trade-
 commission-may-2014/140527databrokerreport.pdf7utm_source=govdelivery
 [12] https://library.ncic.org/ncic/link/FCR.06
 [13] https://library.ncic.org/ncic/link/FCR.07
 [14] https://libraty.ncic.org/ncic/link/FCR.09.04.01
 [15] https://library.ncic.org/ncic/link/FCR.AH
 [16] https://library.ncic.org/ncic/linic/FCR.02.07.05
 [17] https://library.ncic.org/ncic/link/FCR.02
 [18] https:ihibrary.ncic.org/ncic/Jink/FCR,8.04.01




 0 Copyright, National Consumer
 National Consumer Law Center aj NCL areJrac1   of litioni Colum         cJr. Inc                                 Page 5 of 5
          . ESX-L-003614-21 05/05/2021
   Case 2:21-cv-12684-JMV-JBC          10:37:23
                                   Document   1-1PM Filed
                                                     Pg 1 06/16/21
                                                          of 8 Trans ID:
                                                                      Page  27 of 35 PageID:
                                                                         LCV20211141088        30
                                                                                        ;orrespondence to:
                                                                                                                          MRSBPO, L.L.G.
                                                                                          ‘t:1 JVII                       1930 OLNEY AVENUE
     .      Ze                                                                                                            CHERRY HILL NJ 08003
S-SFMRSAi 1                                                                                                               888-274-9871
PC2U4T00300476 - 621960484 100952                                                                                         Office Hours:
Return Address:                                                                                                           Monday - Thursday 9am - 9pm ET
MRS BPO, L.L,C.                                                                                                           Friday            9arn - 5prn ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003                                                                                                                                          REDACTED




       1,111111,19,011,1111111,11111,111,111,t111,11111111,,0111,
       EDWARD C SCIBILIA
       FiEbZFEV         -I • • • •, •••
       REDACTED      ••
                                                                                                                            May 5, 2020
                                                                                   CREDITOR: REDACTED
                                                                                   MRS ACCT#:ab.:)Acie
                                                                                   CREDITOR ACCT#: :ow(
                                                                                   ACCOUNT BALANCE: REDACTEI5

 Dear EDWARD C SCIBILIA,
 The above referenced creditor has placed your account with our office for collection. We recognize that sometimes circumstances or events
 can make it difficult to satisfy your financial obligations.
 Resolving a long overdue debt is never easy. Often the hardest part is taking the first step. We are ready to assist you to find a solution that is
 both fair and reasonable. You may even qualify for a discount offer that could save you a substantial amount of money!
 vaymeni may De maae tiy calling 888-274-9871, mailing to the above address or by using our online payment website at
 httos://portal.mrsbpo.com
                                                        IMPORTANT CONSUMER INFORMATION
Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion thereof, this office will
assume this debt is valid. If you notify this office in writing within 30 days after receiving this notice that you dispute the validity of this debt or
any portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or
verification. If you request of this office in writing within 30 days after receiving this notice, this office will provide you with the name and address
of the original creditor. if different from the current creditor.
 Sincerely,                                                                                              Tax time is a great time to put issues like this
MRS BPO, L.L.C.                                                                                          behind you. Consider using any possible tax
888-274-9871                                                                                             refund you may receive to satisfy your
Letter ID: LU4,5117323.16740216                                                                          outstanding obligation.

                           This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                     This communication is from a debt collector.




                                [EXHIBIT B]
          ESX-L-003614-21 05/05/2021
  Case 2:21-cv-12684-JMV-JBC         10:37:23
                                 Document   1-1PM Filed
                                                   Pg 2 06/16/21
                                                        of 8 Trans ID: LCV20211141088
                                                                    Page  28 of 35 PageID: 31
                                                                                              mR5MRS    Rpo. L C
                                                                                                   1930 OLNEY AVENUE
    :2„deilligtigi% I                                                                                                CHFRRY Hit t. NJ 08003
                                                                                                                     888-902-9643
S-SFMRSA11
0081F000200615 - 624573129 101230                                                                                    Office Hours:
Return Address:                                                                                                      Monday =Thursday 9arn - opm El
MRS BPO. L.L.C.                                                                                                      Friday            9arn - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003                                                                                                                                   REDACTED


                                                                                         June 2, 2020


       EDWARD C SCIBILIA                                                                     CREDITOR:           REDACTED
       kEbiaa                                                                             CREDITOR ACC1b   xxr.,e7.
          OA-6i                              •-                                              MRS ACCT#: REDACTED
                                                                                            BALANCE DUE: i REDACTED




 Dear EDWARD C SCIBILIA.

 We would like to present you with the below offers to resolve your account. Should you nee1 to speak with a representative, please call
 888-902-9643. We lock forward to lhe opportunity lo assist you with resolving your accor


                    SINGLE PAYMENT                             NEED MORE TIME?                           MONTHLY PAYMENTS

               Make a ONE-TIME payment of             Make TWO PAYMENTS ofREDACTED                Can't make a settlement right now?
                REDACTED by 061912020                                as follows:                  We can work with you on a payment
                   to resolve your account                   Payment I by 06/19 2020                plan for the full balance of your
                                                             Payment 2 by 07/2 /2020                             account
                                                              to resolve your alcounl

                                     If you need additional time to respond t these offers, please contact us.
                                                   We are not obligated to lenew these offers.

               Ready to make a payment, or have a question for Le Ch         f.1from any of our available payment or contact option

                       Pay via the Web                              Pay by Phone                              Pay by mail
                       https:Hportalnrsbpo.com                      888-902-0843                              MRS BPO. LLC
                                                                                                              1930 Olney Avenue.
                                                                                                              Cherry I till, NJ 08003
 Sincerely,
 MRS BPO, L.L.C.                                                                                    Tax time is a great time to put issues like this
 888-902-0643                                                                                       behind var. Consider using any possible tax
 LtAtei ID. LU4.5117323.169.18818                                                                   refund you may receive to satisfy your
                                                                                                    outstanding obligation.

                          This is an attempt to collect a debt arid any infomatron obtained will be used for thal purpose.
                                                    This communication is from a debt collector.
          ESX-L-003614-21 05/05/2021
  Case 2:21-cv-12684-JMV-JBC         10:37:23
                                Document    1-1PMFiled
                                                  Pg 3 06/16/21
                                                       of 8 Trans ID: LCV20211141088
                                                                   Page  29 of 35 PageID: 32
                                                                                                 MRS                      MilS13P0, L.L.C.
   16.11(1,;;Efi


                                                                                                                          1930 OLNEY AVENUE
   RA)                 trEPI                                                                                              CHERRY HILL NJ 08003
S-SFMRSAll                                                                                                                888-902-9643
pC,FSC000303027 628650278106054                                                                                           Office Hours:
Return Address
                                                                                                                          Monday - Thursday gam 9piri ET
MRS BPO, L.L.C.                                                                                                           Friday            9am 5prn CI
1930 OLNEY AVENUE
CHERRY HILL NJ 08003                                                                                                                                      REDACTED


                                                                                             July 13, 2020


           EDWARD C SCIBILIA                                                                    CHEDI I OH:    REDACTED
          ritbk-TEV —                                                                        CREDITOR ACCT It: xx>aftioirir        _
          fita-diEd                                                                              MRS ACCI            . tbAdfecT-
                                                                                               BALANCE DUE:          REDACTED




 Dear EDWARD C SOBILIA,

 We would like to present you with the below offers to resolve your account. Should you need to speak with a representative, please call
 888-902-9643. We look forward to the opportunity to assist you with resolving your account,


                        SINGLE PAYMENT                            NEED MORE TIME?                            MONTHLY PAYMENTS
                                                                                                               _

                   Make a ONE-TIME payment of              Make TWO PAYMENTS DI REDACTED              Can't make a settlement righl now?
                    REDACTED by 07/28/2020                             as follows:                    We can work with you on a payment
                      to resolve your account                    Payment 1 by 07/28/2020                plan for the full balance of your
                                                                 Payment 2 by 08/28/2020                            account.
                                                                 to resolve your account

                                        If you need additional time to respond to these offers, please contact us.
                                                      We are not obligated lo renew these offers.

                   Ready to make a payment, or have a question for us? Choose from any of our available payment or contact options

                          Pay via the Web                               Pay by Phone                     Pay by Mall
                          https://portarnrsbpo.com                      888-902-9643
                                                                                                     ElMRS BPO, LLC
                                                                                                         1930 Olney Avenue,
                                                                                                         Cherry Hill, NJ 08003
Sincerely,
MRS BPO, L.L.C.                                                                                        Tax lime is a great time to put issues like this
888-902-9643                                                                                           behind you. Consider using any possible tax
Letter ID: LU4Lbl1 (323.1 /:,?1tib9:3                                                                  refund you may receive to sanely your
                                                                                                       outstanding obligation.

                             This is an attempt to collect u debt and any information obtained will be used for that purpose.
                                                       This communication is from a debt collector




                                  Ti
                           MRS                                                       R   HIL NJ 080
                            OFF                                     R    A               M E I FRIDA
  Case 2:21-cv-12684-JMV-JBC     Document
         .ESX-L-003614-21 05/05/2021        1-1
                                     10:37:23 PM Filed
                                                  Pg 4 06/16/21    Page
                                                       of 8 Trans ID:    30 of 35 PageID: 33
                                                                      L0V20211141088
   Kirkti; IttrintiMV.11
I Etti                                                                                         NIRS                  tons pro,
                                                                                                                     1930 OLNEY AVENUE
                                                                                                                     CHERRY HILL NJ 08003
S SFMRSA 1                                                                                                           888-902-9643
pCK7C.J00302281 - 631130366 10.1562                                                                                  Office Hours:
Return Address                                                                                                       Monday - Thursday 9am • 9prn ET
MRS BPO, L.L.C.                                                                                                      Friday            9am - 5pin ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003                                                                                                                               REDACTED




                                                                                          August 5, 2020


        EDWARD C SCIBILIA                                                                    CREDITOR:    REDACTED
       iiEbitC761; _71                                                                     CREDITOR ACCTO: xmartior
       REDACTED     -                                                                        MRS ACCTir:
                                                                                            BALANCE DUE: REDACTED




 Dear EDWARD C SCIBILIA.

 Wu would like to present you with tlie below offers to resolve you! -ircounL SlR,uld you need to speak with a repreGentative, please call
 888-902-9643. We look forward to the opportunity to assist you with resolving your account.


                     SINGLE PAYMENT                             NEED MORE TIME?                            MONTHLY PAYMENTS


                Make a ONE-TIME payment of              Make TWO PAYMENTS of Fib3Abta)             Can't make a settlement right now?
                  REDACTED by 08121/2020                             as lollow:
                                                                              s                    We can work with you on a payment
                   to resolve your account                   Payment 1 by 08/21/2020                 plan for the full balance of your
                                                              Payment 2 by 09;22/2020                            account.
                                                              to resolve your account

                                      If you need additional time to respond to these offers, please contact us.
                                                    We are not obligated to renew these offers.

                Ready to make a payment, or have a question for us? Chome from any of our available payment or contact options

                        Pay via the Web                              Pay by Phone                             Pay by Mail
                        htips://portal.mrshpo.coni                   888-902-0643                             MRS BPO. LLG
                                                                                                              1930 Olney Avenue.
                                                                                                              Cherry     NJ 08003

 Sincerely.
 MRS BPO, L.L.C.
 888-902-9643
 Letter ID: LU4.5117323.17415244

                           This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                     This communication is from a debt collector.




                         MRS                                                                   NJ 080
                          OFF                                                                 I FRIO

                                                                                                                                                 .0t
  Case 2:21-cv-12684-JMV-JBC       Document
          ,ESX-I,-003614-21 05/05/2021        1-1PM Filed
                                       10:37:23      Pg 5 06/16/21    Page
                                                          of 8 Trans ID:    31 of 35 PageID:
                                                                         LCV20211141088        34
                                                                                        /correspondence to:

              'EINPRNI
                   1                                                                               MRS
                                                                                           Out                             MRS BP0,1_1.C.
                                                                                                                           1930 01 WY AVENUE
                                                                                                               •           CHERRY HILL NJ 08003
S.SFMRSA1                                                                                                                  888-274-9871
PC21J4T00300475 - 62196048:1100050                                                                                         Office Hours:
Relurn Address;                                                                                                            Monday - Thursday 9am - 9pm ET
MRS BPO, L.L.C.                                                                                                            Friday            9arn - 5prn ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003                                                                                                                                       REDACTED




       EDWARD C SCIBILIA
               —
       kEbRO-CdREDACTED
                     "
                                                                                                                             May 5, 2020

                                                                                    CREDITOR:REDACTED
                                                                                    MRS ACCT#:fiLIAC-thb---
                                                                                    CREDITOR ACCTN: ;000RE6AZ-ri
                                                                                    ACCOUNT B LANCE: REDACTED

 Dear EDWARD C SCIBILIA,
 The above referenced creditor has placed your account with our office for collection. We reCegei:1441hat sometimes circumstances or events
 can make it difficult to satisfy your financial obligations.
 Resolving a long overdue debt is never easy. Often the hardest part is taking the first step. We are ready to assist you to find a solution that Is
 both fair and reasonable. You may even qualify for a discount offer that could save you a substantial amount of money!
 Payment may be made by calling 888-274-9871, mailing to the above address or by using our online payment website at
 httes://nortal.mrshpo.com.
                                                         IMPORTANT CONSUMER INFORMATION
 Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion thereof, this office will
 assume this debt is valid. If you notify this office in writing within 30 days after receiving this notice that you dispute the validity of this debt or
 any portion thereof, this office will obtain verification of the debt or obtain a copy of a judgment and mail you a copy of such judgment or
 verification. If you request of this office in writing within 30 days after receiving this notice, this office will provide you with the name and address
 of the original creditor, if different from the current creditor.
 Sincerely,                                                                                               Tax time is a great time to pu1 Issues like this •
 MHS BPO, L.L.C.                                                                                          behind you. Consider using any possible tax
 888-274-9871                                                                                             refund you may receive to satisfy your I
 Letter ID: LU4,5117324.16740217                                                                          outstanding obligation.

                            This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                      This communication is from a debt collector.




                                [EXHIBIT BI
          ESX-L-003614-21 05/05/2021 10:37:23
                                                                                              irywits
  Case 2:21-cv-12684-JMV-JBC     Document   1-1PM Filed
                                                   Pg 6 06/16/21
                                                        of 8 Trans ID: LCV20211141088
                                                                    Page  32 of 35 PageID: 35
                                                                                                                     fv1115.3 61'0, L,L.C.
                                                                                                                     1930 OLNEY AVENUE
                                                                                                                     CHERRY HILL NJ 08003
S-SFMRSA11                                                                                                           888-902-9643
PC81FK00200631 - 624551146101262                                                                                     Office Hours:
Return Address:
                                                                                                                     Monday - Thursday 9arn - 9pm FT
MRS BPO, L.L C.
1930 OLNEY AVENUE                                                                                                    Friday                9arn - 5pm ET
CHERRY HILL NJ 08003                                                                                                                                   REDACTED


                                                                                        June 2, 2020
       WHI611114'1101d41111iffilin'huil"ilailividlh
       EDWARD C SCIBILIA                                                                      CHLUI1            REDACTED
       REDACTED                                                                          onForror ACCT: xxxr"AcTa
       REDACTED                                                                             MFISA CTio. REDACTED
                                                                                           BALANC DUE   1REDACTED




 Dear EDWARD C SCIDILIA,

 We would like to present you with the below offers to resolve your account. Should you need to     Oak with a representative, please call
 888-902-9643. Wc look forward to the opporluni y to assist you with resolving your account.


                    SINGLE PAYMENT                             NEED MORE TIME?                          MONTHLY PAYMENTS

                                                                                   REDACTED
              Make a ONE-TIME payment of              Make TWO PAYMENTS of 5                      Can't make a settlement right now?
                REDACTED by 06119/2020                           as follows:                      We can work with you on a payment
                 to resolve your account                   Payment 1 by 06/i9/' 20                   plan fa the full balance of your
                                                             Payment 2 by 07/2"2020                             account.
                                                             to resolve your count

                                    It you need additional Lim- o re.. id to these offers, please contact us.
                                                   We are not obligated to renew these offers.

              Ready to make a payment, or have a question for us? Choose from any ot our available paymolt or contact options.

                       Pay via the Web                              Pay by Phone                             Pay by Mail
                       httpsliportal.mrsbpacom                      888-902-9643                             MRS BPO, LLC
                                                                                                             1930 Olney Avenue,
                                                                                                             Cherry Hill, NJ 08003
Sincerely,
MRS BPO,                                                                                            lax time is a great time to put issues like this
888-902-9643                                                                                        behind you. Consider using any possible tax
Letter ID: LU4.5117324.16948819                                                                     refund you may receive to satisfy your
                                                                                                  , outstanding obligation.

                         This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                   This communication is from a debt collector.
          ESX-L-003614-21 05/05/2021
  Case 2:21-cv-12684-JMV-JBC         10:37:23
                                Document    1-1PM Filed
                                                   Pg 7 06/16/21
                                                        of 8 Trans ID:
                                                                    Page  33 of 35 PageID: 36
                                                                       LCV20211141088


S-SPNIRSA 1
             tritin
PCFSC000303028 - 628650279 106056
                                                                                                 MRSMRS
                                                                                                            BPO. L L C
                                                                                                      1930 OLNEY AVENUE
                                                                                                      CHERRY HILL NJ 08003
                                                                                                      888-902-9643
                                                                                                      Office Hours:
Return Address.
                                                                                                      Monday - Thursday 9am - 9prr1 ET
MRS BPO, L.L.C.
                                                                                                      Friday            9arn - 5pm ET
1930 OLNEY AVENUE
CHERRY HILL NJ 08003                                                                                                                                      REDACTED



                                                                                             July
                                                                                               13.
                                                                                                 2020
       EDWARD C SCIBIL1A                                                                       CREDITOR.
                                                                                                       REDACTED
       (iEbRditli                                                                            CREDITOR  xxic
                                                                                                   ACCTIi:
       REDACTED                                                                                MRSACCTO:oAir—
                                                                                              BALANCE
                                                                                                   DUE:
                                                                                                      IREDAcTED


 Dear EDWARD C

 We would like to present you with the below offers to resolve your account. :Should you need to speak with a representative, please call
 888-902-9643. We look forward to the opportunity to assist you with resolving your account.


                     SINGLE PAYMENT                               NEED MORE TIME?                           MONTHLY PAYMENTS


               Make a ONE-TIME payment of                 Make TWO PAYMENTS Of REDACTED               Can't make a settlement right now?
                 REDACTED by 07/28/2020                                as follows:                    We can work with you on a payment
                  to resolve your account                      Payment 1 by 07/28/2020                  plan for the full balance of your
                                                                Payment 2 by 08/28/2020                             account.
                                                                to resolve your account

                                        If you need additional time to respond to these offers, please contact us.
                                                      We are not obligated to renew these offers.

               Ready to make a payrnant, or have a question for ils? Choose from any of our available payment or contact options




                                                                                                     21
                        Pay via the Web                                Pay by Phone                              Pay by Mail
                        https://portal.mrsboo.com                      888-902-9643                              MRS BPO, LLC
                                                                                                                 1930 Olney Avenue,
                                                                                                                 Chary Hill, NJ 08003

Sincerely;
MRS BPO, L.L.C.                                                                                        Tax time is a great time to put issues like this
888-902-9643                                                                                           behind you Consider using any possible tax
Letter II): LU4.5 I 17324.   17276594                                                                  fermi(' you imay eceivo to Fx-Atisfy your
                                                                                                       outstanding obligation.

                             This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                       This communication is from a debt collector.
  Case 2:21-cv-12684-JMV-JBC      Document
          ,ESX-L-003614-21 05/05/2021        1-1PM Filed
                                      10:37:23      Pg 8 06/16/21    Page
                                                         of 8 Trans ID:    34 of 35 PageID: 37
                                                                        LCV20211141088                                                                        1


                                                                                       < MRS                        MRS BP0.1..t..C.
                                                                                                                    1930 OLNEY AVENUE
                                                                                                                    CHERRY HILL NJ 08003
S s,,-1./RSA11                                                                                                      888-902-9643
PCK7CJ00302280 - 631130365103560                                                                                    Office Hours:
Return Address                                                                                                      Monday - I hursclay Oam - 9prn ET-
MRS BPO, L.L.C.
1930 OLNEY AVENUE
                                                                                                                    Friday              Oam - 5pm ET
CHERRY HILL NJ 08003                                                                                                                               REDACTED




                                                                                         August 5. 2020
        1111111111
        EDWARD C SCIBILIA                                                                    CREDITOR:    jREDAGTED
       riEbZiE-D.                                                                              OR ACCT)t:Ixxxx`fitiLUE
       REDACTED                                                                             MRS ACC,Tir-
                                                                                                          . ite;kerib"—
                                                                                           BALANCE DUE: REDACTED




 Dear EDWARD C SCIBILIA,

 We would like to present you with the below offers to resolve your mount!. Should you need to speak with a representative, please call
 888-902.9643. We lock forward to the opportunity to assist you with resolving your account.


                    SINGLE PAYMENT                            NEED MORE TIME?                             MONTHLY PAYMENTS

               Make a ONE-TIME payment of             Make TWO PAYMENTS of          EdTd          Can't make a settlement right now',
                REDACTED by 08121/2020                            as follows:                     We can work with you on a payment
                  to resolve your account                   Payment 1 by 08/21/2020                 plan for the lull balance of your
                                                            Payment 2 by 09/22/2020                             account.
                                                             to resolve your account

                                    If you need additional lime to respond to these offers, please contact us.
                                                  We are not obligated to renew these offers.

               Ready to make a payment, or have a question for   us? ChOOSP   from any of our available payment   or contact Options.


                       Pay via the Web                             Pay by Phone                     Pay by Mail
                      https://portal.rnrshpo coin                  F388-902-9643
                                                                                                 COMRS SP°, LLC
                                                                                                    1930 Olney Avenue,
                                                                                                    Cherry Hill, NJ 06003
Sincerely.
MRS BPO, L.L C.
888-902-9643
Letter ID: LU4.5117324.17415245
                         This is an attempt to collect a debt and any information obtained will be used for that purpose.
                                                   This communication is from a debt collector.




                            Ti.
                       MRS    0, .L. I 1            HIE
                                                    01  RI-1L
                        OFF! E
DocuSign Envelope ID:
                          ESX-L-003614-21
                           /
                                                 05/24/2021 11:01:48 AM Pg 1 of 1 Trans ID: L0V20211275584
                                1-nJOL-OCUIDOJIDOO:JC


                                                                                                                     111111111121(11!1
                                                                                                                            5)1
                                                                                                                             11
                                                                                                                              11911111
                                                                                                                                  111
                                                                                                                                   111
             Case 2:21-cv-12684-JMV-JBC        Document 1-1 Filed 06/16/21 Page 35 of 35 PageID: 38
EDWARD SCIBILIA, ET AL
                                                                               Plaintiff
                                                                                                                                         Superior Court Of New Jersey
                                         VS

MRS BP0 LLC. ET AL                                                                                                                                       ESSEX Venue
                                                                             Defendant
                                                                                                                                       Docket Number: ESX L 3614 21
Person to be served (Name and Address):
MRS BP0 LLC.
3 TUSCANY WAY                                                                                                         AFFIDAVIT OF SERVICE
MOUNT LAUREL NJ 08054                                                                                                         (For Use by Private Service)
By serving: JEFFREY M. FREEDMAN
                                                                                                   Cost of Service pursuant to R. 4:4-3(c)
Attorney: YONGMOON KIM, ESQ.

Papers Served: SUMMONS AND COMPLAINT, CIS, TRACK ASSIGNMENT
NOTICE, EXHIBITS

Service Data:        [X] Served Successfully                [ ] Not Served
                                                                                                    Name of Person Served and relationship/title:
 Date/Time:          5/21/2021 3:31 PM
                                                                                                   JEFFREY FREEDMAN
[ ] Delivered a copy to him/her personally

[ ] Left a copy with a competent household member over 14 years of age residing                     MANAGING AGENT
therein (indicate name & relationship at right)

[X] Left a copy with a person authorized to accept service, e.g. managing agent,
registered agent, etc. (indicate name & official title at right)




Description of Person Accepting Service:

SEX:M        AGE: 51-65 HEIGHT: 5'9"-6'0"             WEIGHT: 131-160 LBS.        SKIN:WHITE                        HAIR: BROWN            OTHER:

Unserved:
[ ] Defendant is unknown at the address furnished by the attorney
[ All reasonable inquiries suggest defendant moved to an undetermined address
[ ] No such street in municipality
[ ] Defendant is evading service
[ ] Appears vacant
[ ] No response on:                   Date/Time:
                                               Date/Time:
                                               Date/Time:

Other:




To Be Used Where Electronic Signature Not Available                                        Docusign Court Approved E-Signature
Served Data:
Subscribed and Sworn to me this                                                            I, THOMAS MORAGHAN,
                                                                                           was at the time of service a competent adult, over the age of 18 and
                    day of                     , 20                                             racytinditiEre0:interest in the litigation. I declare under penalty of
                                                                                            )erVektAsekrokoin,p1)%twe and correct.
Notary Signature:                                                                                                         Al&HAIN
                                                                                                E=3.6A-9-A-b-1-ES1-ED4L . .                     05/21/2021
                                                                                           Signature of Process Server                               Date
         Name of Notary              Commission Expiration



Name of Private Server: THOMAS MORAGHAN Address: 2009 Morris Avenue UNION, NJ 07083 Phone: (800) 672-1952
